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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1149V
                                        (not to be published)


    GRETCHEN HANDY,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: October 13, 2020


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Kate Gerayne Westad, SiebenCarey, Minneapolis, MN, for petitioner., for Petitioner.

Mark Kim Hellie, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On August 7, 2018, Gretchen Handy filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration which both meets the Table definition for SIRVA and caused-in-fact by the
influenza vaccine she received on January 14, 2016. (Petition at ¶¶ 1, 6). On July 15,
2020, a decision was issued awarding compensation to Petitioner based on the parties’
stipulation. (ECF No. 33).


1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated September
18, 2020, (ECF No. 38), requesting an award of $12,230.25 in fees and costs incurred by
Larkin Hoffman Law Firm and $8,203.08 in fees and costs incurred by SiebenCarey PA.
(Id. at 1). In accordance with General Order #9, Petitioner filed a signed statement
indicating that she incurred no out-of-pocket expenses. (ECF No. 39). Respondent
reacted to the motion on October 1, 2020 indicating that he is satisfied that the statutory
requirements for an award of attorney’s fees and costs are met in this case and defers to
the Court’s discretion to determine the amount to be awarded. (ECF No. 40). Petitioner
did not file a reply thereafter.

      I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. §
15(e). Accordingly, Petitioner is awarded the total amount of $20,433.33 3 as follows:

            •   A lump sum of $12,230.25, representing reimbursement for attorneys’
                fees and costs, in the form of a check payable jointly to Petitioner and
                Petitioner’s counsel, Larkin Hoffman Law Firm; and

            •   A lump sum of $8,203.08, representing reimbursement for attorneys’
                fees and costs, in the form of a check payable jointly to Petitioner and
                Petitioner’s counsel, SiebenCarey PA.

      In the absence of a timely-filed motion for review (see Appendix B to the Rules of
the Court), the Clerk shall enter judgment in accordance with this decision. 4

IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master


3 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs., 924
F.2d 1029 (Fed. Cir.1991).
4 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                    2
